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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 13-22500-CIV-ALTONAGA/Goodman
                        CASE NO. 13-24320-CIV-ALTONAGA/Goodman

   UNITED STATES OF AMERICA
   ex rel. JONATHAN LORD, M.D.,

           Plaintiff,

   v.

   UNIVERSITY OF MIAMI,

         Defendant.
   _____________________________ /

   UNITED STATES OF AMERICA
   ex rel. PHILLIP CHEN, M.D.,

           Plaintiff,

   v.

   UNIVERSITY OF MIAMI, et al.,

         Defendants.
   _____________________________ /

                                        SEALED ORDER

          THIS CAUSE came before the Court on Plaintiff, the United States of America’s Ex Parte

  Application for an Extension of the Intervention Period and Seal (No. 13-22500 [ECF No. 79];

  No. 13-24320 [ECF No. 51]), filed on September 16, 2020. Relators oppose the Application and

  request a status conference. (See generally No. 13-22500 [ECF No. 81]; No. 13-24320 [ECF No.

  53]).

          These actions under False Claims Act were filed under seal, as required by 31 U.S.C.

  section 3730(b)(2). Section 3730(b) provides the sealed complaint and related disclosures shall

  be kept sealed for 60 days while the Government decides whether to intervene in the action. See
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  id. §§ 3730(b)(2)–(4). The Government may request extending the period that the documents

  remain under seal for good cause. See id. §§ 3730(b)(2)–(3).

         This is not carte blanche for the Government extending the seal and deferring deciding to

  intervene indefinitely. See United States ex rel. Martin v. Life Care Centers of Am., Inc., 912 F.

  Supp. 2d 618, 627 (E.D. Tenn. 2012). In Life Care Centers, the Government was granted four

  years’ worth of extensions of the initial False Claims Act sealed-document period. See id. at 623.

  The Government’s bases for its requests included the complexity of the case, an overburdened

  staff, and lack of resources. See id. at 625. The court, expressing regret for its part in granting the

  “Government’s habitual requests for extensions of the election period[,]” concluded “[t]he length

  of time this case has remained under seal borders on the absurd.” Id. at 623–24 (alterations and

  emphasis added); see also id. at 625 (“Regrettably, the Court bears some responsibility for the

  Government's mishandling of this litigation. Based on the Government's representations

  concerning the complexity of the case and the lack of resources needed to prepare, it was the Court

  that granted the requested extensions.”). The court concluded that the Government’s prior stated

  reasons for extending the election period “were insufficient bases on which to obtain the

  interminable extensions afforded in this case.” Id. at 625; see also United States ex rel. Costa v.

  Baker & Taylor, Inc., 955 F. Supp. 1188, 1191 (N.D. Cal. 1997) (finding, after 18 months of

  extending the sealed election period, the Government failed to show good cause for a further

  extension based on the possibility that lifting the seal would “interfere with settlement

  negotiations”).

         Relators filed their Complaints seven years ago. (See generally No. 13-22500 [ECF

  No. 1]; No. 13-24320 [ECF No. 1]). The Government’s interminable requests for extensions of



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  the sealed election period border on the absurd, particularly after the Government explicitly agreed

  to a fixed date for unsealing these cases. (See generally June 17th, 2020 Order, No. 13-22500

  [ECF No. 83]; No. 13-24320 [ECF No. 54]). The Government is cautioned its stated reason for

  extending the sealed election period one more time — to finalize a settlement (see Gov’t’s Reply

  [ECF 85] 3) — appears little better than the reasons found wanting in Life Care Centers,

  912 F. Supp. 2d 618, and Baker & Taylor, 955 F. Supp. 1188.

         No further extensions beyond this final one will be granted. Accordingly, it is

         ORDERED AND ADJUDGED as follows:

         1.      Plaintiff, the United States of America’s Ex Parte Application for an Extension of
                 the Intervention Period and Seal (No. 13-22500 [ECF No. 79]; No. 13-24320 [ECF
                 No. 51]) is GRANTED.

         2.      The Clerk shall UNSEAL these cases and their attendant filings on November 2,
                 2020.

         3.      Relators, Jonathan Lord, M.D.; Philip C. Chen, M.D., Ph.D., F.C.A.P.; and Joshua
                 Yelen’s Joint Request for Status Conference (No. 13-22500 [ECF No. 81]; No. 13-
                 24320 [ECF No. 53]) is GRANTED in part.

         4.      The cases are set for a combined status and scheduling conference on
                 November 2, 2020 at 2:00 p.m. The parties may appear by videoconference and
                 should contact the Courtroom Deputy for further instructions.

         DONE AND ORDERED in Miami, Florida, this 18th day of September, 2020.




                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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